Case 2:01-cr-20312-.]P|\/| Document 120 Filed 07/08/05 Page 1 of 2 Page|D 152

 

J'
' man a mfg -
IN THE UNITED STATES DISTRICT COURT y °'c'
FOR THE wESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 05 JUL "3 PH w 5|
MM.G(U.D
UNITED STATES oF AMERICA, ) ag`%U-SUST$UCU.RT
) wmttwts
Plaintiff, )
)
v. ) No. 01-20312
)
TEDDY NULL, )
)
Defendant. )
)

 

ORDER GRANTING MOTION TO RESET SENTENCING

 

It is ORDERED that the Motion to Continue Re-Sentencing Date,
filed July' 6, 2005, is GRANTED and the re-sentencing hearing
previously set for July 15, 2005, is hereby reset to F‘ridayl August

19, 2005 at 9:30 a.m.

ENTERED this §§ day of July, 2005.

MM‘OM

JON P. MCCALLA
UN TED S'I'ATES DISTRICT JUDGE

Thfs document entered on the docket sheet tn compffance

with Hute 55 and/or 32(b) FRCrP on * / ;) :)

   

UNITED `sETATS DISTRIC COURT - WE TERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 2:01-CR-20312 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

1\/1emphis7 TN 38103

Lawrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

